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                                                                      FILED: January 11, 2017

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

                                          ___________________

                                               No. 16-1497
                                          (8:16-cv-00860-DKC)
                                          ___________________

         SCOTTSDALE CAPITAL ADVISORS CORPORATION; JOHN J. HURRY;
         TIMOTHY B. DIBLASI; DARREL MICHAEL CRUZ

                         Plaintiffs - Appellants

         v.

         FINANCIAL INDUSTRY REGULATORY AUTHORITY, INC.

                         Defendant - Appellee

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         SECURITIES AND EXCHANGE COMMISSION

                         Amicus Supporting Appellee

                                          ___________________

                                             MANDATE
                                          ___________________

                  The judgment of this court, entered December 20, 2016, takes effect today.

                  This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                    /s/Patricia S. Connor, Clerk
